780 F.2d 1021
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.(The decision of the Court is referenced in a "Table of Decisions Without Reported Opinions" appearing in the Federal Reporter.)THEOTIS JUDON, Petitioner-Appellant,v.E.P. PERINI, Respondent-Appellee.
    85-3594
    United States Court of Appeals, Sixth Circuit.
    11/15/85
    
      APPEAL DISMISSED
      N.D.Ohio
      ORDER
      BEFORE:  MERRITT, MARTIN and WELLFORD, Circuit Judges.
    
    
      1
      This matter is before the Court on the petitioner's appeal from the denial of his application for a certificate of probable cause by the district court on July 8, 1985.
    
    
      2
      Such an order is nonappealable.  Rule 22(b), Federal Rules of Appellate Procedure.
    
    
      3
      For the foregoing reasons, it is ORDERED that the appeal be and hereby is dismissed.
    
    